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                MULTIMODE FIBER OPTIC ROTARY JOINT PATCH CABLES


  ► Patch Cables with Integrated Rotary Joint
                                                                                         FC/PC Connector
  ► Rotating Interface Protects Against Fiber Damage
  ► FC/PC or SMA Connector on Both Ends                                                                                           Ø2 mm Tubing
                                                                                         Ceramic
                                                       Ø2 mm Furcation Tubing
                                                                                          Ferrule



                                Integrated Rotary                                           Stainless
                                Joint Allows Fiber                                              Steel                  SMA905 Connector
                                to Freely Rotate                                              F      l




               RJPF2
                                                              Rotary Joint Detail
               Ø200 µm Core Rotary Joint Patch Cable
                                                                 SM05 Mounting Threads
                                                                                                    Rotating Section




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    OVERVIEW

     Features

           • Articulated Rotary Joint Protects Against Fiber Damage Caused by Twisting Motion
           • Ø200 µm or Ø400 µm Core Multimode Fiber
           • Available with SMA905 or FC/PC (2.0 mm Narrow Key) Connectors
           • Custom Cables are Available by Request
           • Extremely Smooth Rotation
           • SM05-Threaded (0.535"-40) Rotary Joint for Secure Mounting
                                                                                                                                        Click to Enlarge
                                                                                                                        The External SM05 Threading on the Rotary Joint
     Thorlabs' Multimode (MM) Fiber Optic Rotating Patch Cables are one-piece solutions for experiments that             Allows for Compatibility with Our Line of SM05-
     involve rotating one end of a cable. The built-in rotary joint allows one end to freely rotate while keeping the   Threaded Optic Mounts, such as the LMR05 Lens
     other end stationary. The lens-free design also provides lower insertion loss and less rotational                                Mount Shown Here.
     transmission variation than a separate rotary joint and patch cables solution.


     The rotary joint is precision machined and has sealed bearings for extremely smooth rotation,
     long lifetime, and low signal strength variations as the joint rotates. The rotary joint features an
                                                                                                                                   Click to Enlarge
     external SM05 (0.535"-40) mounting thread for compatibility with our Ø1/2" optic mounts.               The Rotary Joint Uses a Butt-Coupled Design with Two Fiber
                                                                                                               Ferrules in Close Proximity to Yield Low Insertion Loss
     These cables incorporate FT200EMT Ø200 µm core or FT400EMT Ø400 µm core, 0.39 NA fiber. To each side of the rotary joint, there is 1 m of fiber with
     standard FT020 orange tubing that has been terminated with either an FC/PC or SMA connector. Each rotary joint patch cable includes two protective caps that
     shield the ferrule ends from dust and other hazards. Additional CAPM rubber or CAPMM metal caps for SMA connectors and CAPF plastic or CAPFM metal
     caps for FC/PC connectors are sold separately. Compared to unterminated fiber, the maximum power of these cables is limited due to their connectorization.
     Please see the Damage Threshold tab for detailed information.


     Optogenetics
     We also offer rotary joint patch cables for optogenetics. They are commonly used in this field because of their ease of use with moving specimens. These cables
     differ in that they have a lightweight black tubing with a low-profile ferrule for cannula interconnection on the specimen-side of the rotary joint. They provide a
     complete solution for connecting the light source to an implanted fiber optic cannula and are compatible with all Thorlabs light sources and optogenetics
     equipment. Thorlabs offers a full line of optogenetics equipment for in vivo stimulation, including: implantable fiber optic cannulae, fiber optic patch cables and
     rotary joint patch cables for Optogenetics, Fiber-Coupled LEDs, and a multimode laser light source. For more information on our selection of optogenetics
     equipment please see our Optogenetics Overview.



     Custom Rotary Joint Cables
     The fiber leads of these cables are permanently attached to the rotary joint for higher performance and provide a one piece, integrated fiber optic solution. For
     compatibility with a wide range of experimental setups, we can produce custom rotary joint cables using fibers with different core sizes and NAs. We can also
     produce cables with different connectors or any length of fiber on each end of the joint. For best performance, the fiber core size should be 200 µm or greater.
     Contact Tech Support to order a custom rotary joint cable.

                                                            In-Stock Multimode Fiber Optic Patch Cable Selection

                                                                       Step Index
                                                                                                                                                     Graded
                                                                                                                            Specialized
               Uncoated                        Coated                    Mid-IR                  Optogenetics                                         Index
                                                                                                                            Applications
                                                                                                                          High-Power SMA                           Fiber
                  SMA
                                          AR-Coated SMA                                       Lightweight FC/PC          Vacuum-Compatible                        Bundles
                 FC/PC
                                         HR-Coated FC/PC             Fluoride FC and          Lightweight SMA                  SMA
           FC/PC to SMA                                                                                                                               FC/PC
                                        Beamsplitter-Coated                SMA             Rotary Joint FC/PC and           Armored SMA
       Square-Core FC/PC and
                                               FC/PC                                                  SMA               Solarization-Resistant
                  SMA
                                                                                                                                 SMA




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    SPECS

                                                                    Specifications

                           Item #                                       RJPS2           RJPF2               RJPS4        RJPF4
                                                                         SMA            FC/PC               SMA          FC/PC
                           Connector Type                                      a                 b                a
                                                                       (10230A )      (30230C1 )        (10440A )      (30440C1b)
                           Fiber Type                                          FT200EMT                          FT400EMT
                           Fiber Core Size                                     Ø200 µm                            Ø400 µm
                           Fiber NA                                                                  0.39
                           Wavelength Range                                                 400 - 2200 nm
                           Length                                                  1 m on Both Sides of Rotary Joint
                           Fiber Jacket                                                Ø2 mm, Orange (FT020)
                           Rotary Joint Specifications
                           Insertion Loss Through Rotary Joint                       <2.0 dB (Transmission >63%)
                           Variation in Insertion Loss
                                                                                     ±0.4 dB (Transmission ±8%)
                           During Rotation
                           Start-Up Torque                                                      <0.01 N•m
                                        c                                                        10,000
                           RPM (Max)
                           Lifetime Cycle                                            200 - 400 Million Revolutions
                           Operating Temperature                                                 <50 °C

                                • Connectorized with the 190088CP strain relief boot for Ø2 mm tubing
                                • Connectorized with the 190066CP strain relief boot for Ø2 mm tubing
                                • Tested for the bearings in the rotary joint segment


     Fiber Specs
                                                   Core /            Core           Cladding           Coating        Max Core           Bend Radius
     Item #            Fiber Type     NA         Cladding          Diameter         Diameter          Diameter         Offset       (Short Term / Long Term)

     RJPF2 and RJPS2   FT200EMT                 Pure Silica /     200 ± 5 μm       225 ± 5 μm        500 ± 30 μm        5 µm             9 mm / 18 mm
                                    0.39
     RJPF4 and RJPS4   FT400EMT              TECS Hard Cladding   400 ± 8 μm       425 ± 10 μm       730 ± 30 μm        7 µm             20 mm / 40 mm




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    MM FIBER TUTORIAL




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     Guiding Light in an Optical Fiber
     Optical fibers are part of a broader class of optical components known as waveguides that utilize total internal
     reflection (TIR) in order to confine and guide light within a solid or liquid structure. Optical fibers, in particular,
     are used in numerous applications; common examples include telecommunications, spectroscopy, illumination,
     and sensors.                                                                                                                               Click to Enlarge
                                                                                                                                  Total Internal Reflection in an Optical Fiber
     One of the more common glass (silica) optical fibers uses a structure known as a step-index fiber, which is shown in the image to the right. Step-index fibers
     have an inner core made from a material with a refractive index that is higher than the surrounding cladding layer. Within the fiber, a critical angle of incidence
     exists such that light will reflect off the core/cladding interface rather than refract into the surrounding medium. To fulfill the conditions for TIR in the fiber, the
     angle of incidence of light launched into the fiber must be less than a certain angle, which is defined as the acceptance angle, θacc. Snell's law can be used to
     calculate this angle:




     where ncore is the refractive index of the fiber core, nclad is the refractive index of the fiber cladding, n is the refractive index of the outside medium, θcrit is the
     critical angle, and θacc is the acceptance half-angle of the fiber. The numerical aperture (NA) is a dimensionless quantity used by fiber manufacturers to specify
     the acceptance angle of an optical fiber and is defined as:




     In step-index fibers with a large core (multimode), the NA can be calculated directly using this equation. The NA can also be determined experimentally by
     tracing the far-field beam profile and measuring the angle between the center of the beam and the point at which the beam intensity is 5% of the maximum;
     however, calculating the NA directly provides the most accurate value.




     Number of Modes in an Optical Fiber
     Each potential path that light propagates through in an optical fiber is known as a guided mode of the fiber. Depending on the physical dimensions of the
     core/cladding regions, refractive index, and wavelength, anything from one to thousands of modes can be supported within a single optical fiber. The two most
     commonly manufactured variants are single mode fiber (which supports a single guided mode) and multimode fiber (which supports a large number of guided
     modes). In a multimode fiber, lower-order modes tend to confine light spatially in the core of the fiber; higher-order modes, on the other hand, tend to confine light
     spatially near the core/cladding interface.


     Using a few simple calculations, it is possible to estimate the number of modes (single mode or multimode) supported by an optical fiber. The normalized optical
     frequency, also known as the V-number, is a dimensionless quantity that is proportional to the free space optical frequency but is normalized to guiding
     properties of an optical fiber. The V-number is defined as:




     where V is the normalized frequency (V-number), a is the fiber core radius, and λ is the free space wavelength. Multimode fibers have very large V-numbers; for
     example, a Ø50 µm core, 0.39 NA multimode fiber at a wavelength of 1.5 µm has a V-number of 40.8.


     For multimode fiber, which has a large V-number, the number of modes supported is approximated using the following relationship.




     In the example above of the Ø50 µm core, 0.39 NA multimode fiber, it supports approximately 832 different guided modes that can all travel simultaneously
     through the fiber.




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     Single mode fibers are defined with a V-number cut-off of V < 2.405, which represents the point at which light is coupled only into the fiber's fundamental mode.
        To meet this condition, a single mode fiber has a much smaller core size and NA compared to a multimode fiber at the same wavelength. One example of this,
        SMF-28 Ultra single mode fiber, has a nominal NA of 0.14 and an Ø8.2 µm core at 1550 nm, which results in a V-number of 2.404.




        Sources of Attenuation
        Loss within an optical fiber, also referred to as attenuation, is characterized and quantified in order to predict
        the total transmitted power lost within a fiber optic setup. The sources of these losses are typically wavelength
        dependent and range from the material used in the fiber itself to bending of the fiber. Common sources of
        attenuation are detailed below:


        Absorption
        Because light in a standard optical fiber is guided via a solid material, there are losses due to absorption as light                  Click to Enlarge
        propagates through the fiber. Standard fibers are manufactured using fused silica and are optimized for                      Attenuation Due to Macrobend Loss
        transmission from 1300 nm to 1550 nm. At longer wavelengths (>2000 nm), multi-phonon interactions in fused
        silica cause significant absorption. Fluoride glasses such as ZrF4 and InF3 are used in manufacturing Mid-IR
        optical fibers primarily because they exhibit lower loss at these wavelengths. ZrF4 and InF3 fibers have a multi-
        phonon edge of ~3.6 µm and ~4.6 µm, respectively.


        Contaminants in the fiber also contribute to the absorption loss. One example of an undesired impurity is water                        Click to Enlarge
        molecules that are trapped in the glass of the optical fiber, which will absorb light around 1300 nm and                     Attenuation Due to Microbend Loss
        2.94 µm. Since telecom signals and some lasers operate in that same region, any water molecules
        present in the fiber will attenuate the signal significantly.


        The concentration of ions in the fiber glass is often controlled by manufacturers to tune the
        transmission/attenuation properties of a fiber. For example, hydroxyl ions (OH-) are naturally present in
        silica and absorb light in the NIR-IR spectrum. Therefore, fibers with low-OH content are preferred for
        transmission at telecom wavelengths. On the other hand, fibers with high-OH content typically exhibit
        increased transmission at UV wavelengths and thus may be preferred by users interested in
        applications such as fluorescence or UV-VIS spectroscopy.
                                                                                                                                           Click to Enlarge
                                                                                                                        Beam profile measurement of FT200EMT multimode
                                                                                                                        fiber and a former generation M565F1 LED (replaced
        Scattering
                                                                                                                        by the M565F3) showing light guided in the cladding
        For the majority of fiber optics applications, light scattering is a source of loss that occurs when light                rather than the core of the fiber.
        encounters a change in the refractive index of the medium. These changes can be extrinsic, caused by
        impurities, particulates, or bubbles; or intrinsic, caused by fluctuations in the glass density, composition, or phase state. Scattering is inversely related to the
        wavelength of light, so scattering loss becomes significant at shorter wavelengths such as the UV or blue regions of the spectrum. Using proper fiber cleaning,
        handling, and storage procedures may minimize the presence of impurities on tips of fibers that cause large scattering losses.


        Bending Loss
        Losses that occur due to changes in the external and internal geometry of an optical fiber are known as bending loss. These are usually separated into two
        categories: macrobending loss and microbending loss.


        Macrobend loss is typically associated with the physical bending of an optical fiber; for example, rolling it in a tight coil. As shown in the image to the right, guided
        light is spatially distributed within the core and cladding regions of the fiber. When a fiber is bent at a radius, light near the outer radius of the bend cannot
        maintain the same spatial mode profile without exceeding the speed of light. Instead, the energy is lost to the surroundings as radiation. For a large bend radius,
        the losses associated with bending are small; however, at bend radii smaller than the recommended bend radius of a fiber, bend losses become very significant.
        For short periods of time, optical fibers can be operated at a small bend radius; however, for long-term storage, the bend radius should be larger than the
        recommended value. Use proper storage conditions (temperature and bend radius) to reduce the likelihood of permanently damaging the fiber; the FSR1 Fiber
        Storage Reel is designed to minimize high bend loss.


        Microbend loss arises from changes in the internal geometry of the fiber, particularly the core and cladding layers. These random variations (i.e., bumps) in the
        fiber structure disturb the conditions needed for total internal reflection, causing propagating light to couple into a non-propagating mode that leaks from the fiber
        (see the image to the right for details). Unlike macrobend loss, which is controlled by the bend radius, microbend loss occurs due to permanent defects in the
        fiber that are created during fiber manufacturing.


        Cladding Modes
        While most light in a multimode fiber is guided via TIR within the core of the fiber, higher-order modes that guide light within both the core and cladding layer,
        because of TIR at the cladding and coating/buffer interface, can also exist. This results in what is known as a cladding mode. An example of this can be seen in
        the beam profile measurement to the right, which shows cladding modes with a higher intensity in the cladding than in the core of the fiber. These modes can be
        non-propagating (i.e., they do not fulfill the conditions for TIR) or they can propagate over a significant length of fiber. Because cladding modes are typically
        higher-order, they are a source of loss in the presence of fiber bending and microbending defects. Cladding modes are also lost when connecting two fibers via
        connectors as they cannot be easily coupled between optical fibers.



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     Cladding modes may be undesired for some applications (e.g., launching into free space) because of their effect on the beam spatial profile. Over long fiber
        lengths, these modes will naturally attenuate. For short fiber lengths (<10 m), one method for removing cladding modes from a fiber is to use a mandrel wrap at a
        radius that removes cladding modes while keeping the desired propagating modes.




        Launch Conditions
        Underfilled Launch Condition
        For a large multimode fiber which accepts light over a wide NA, the condition of the light (e.g., source type, beam diameter, NA) coupled into the fiber can have a
        significant effect on performance. An underfilled launch condition occurs when the beam diameter and NA of light at the coupling interface are smaller than the
        core diameter and NA of the fiber. A common example of this is launching a laser source into a large multimode fiber. As seen in the diagram and beam profile
        measurement below, underfilled launches tend to concentrate light spatially in the center of the fiber, filling lower-order modes preferentially over higher-order
        modes. As a result, they are less sensitive to macrobend losses and do not have cladding modes. The measured insertion loss for an underfilled launch tends to
        be lower than typical, with a higher power density in the core of the fiber.




                                                           Click to Enlarge

                                                                                                              Click to Enlarge
                       Diagram illustrating an underfilled launch condition (left) and a beam profile measurement using a FT200EMT multimode fiber (right).

        Overfilled Launch Condition
        Overfilled launches are defined by situations where the beam diameter and NA at the coupling interface are larger than the core diameter and NA of the fiber.
        One method to achieve this is by launching light from an LED source into a small multimode fiber. An overfilled launch completely exposes the fiber core and
        some of the cladding to light, enabling the filling of lower- and higher-order modes equally (as seen in the images below) and increasing the likelihood of coupling
        into cladding modes of the fiber. This increased percentage of higher-order modes means that overfilled fibers are more sensitive to bending loss. The measured
        insertion loss for an overfilled launch tends to be higher than typical, but results in an overall higher output power compared to an underfilled fiber launch.




                                                           Click to Enlarge

                                                                                                              Click to Enlarge
                       Diagram illustrating an overfilled launch condition (left) and a beam profile measurement using a FT200EMT multimode fiber (right).

        There are advantages and disadvantages to underfilled or overfilled launch conditions, depending on the needs of the intended application. For measuring the
        baseline performance of a multimode fiber, Thorlabs recommends using a launch condition where the beam diameter is 70-80% of the fiber core diameter. Over
        short distances, an overfilled fiber has more output power; however, over long distances (>10 - 20 m) the higher-order modes that more susceptible to
        attenuation will disappear.




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    DAMAGE THRESHOLD




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     Laser Induced Damage in Silica Optical Fibers
     The following tutorial details damage mechanisms in unterminated (bare) and terminated optical fibers,
     including damage mechanisms at both the air-to-glass interface and within the glass of the optical fiber.
     Please note that while general rules and scaling relations can be defined, absolute damage thresholds in
     optical fibers are extremely application dependent and user specific. This tutorial should only be used as a                                       Click to Enlarge
                                                                                                                             Click to Enlarge
     guide to estimate the damage threshold of an optical fiber in a given application. Additionally, all calculations                                Undamaged Fiber End
                                                                                                                            Damaged Fiber End
     below only apply if all cleaning and use recommendations listed in the last section of this tutorial have been
     followed. For further discussion about an optical fiber’s power handling abilities within a specific application, contact Thorlabs’ Tech Support.



     Damage at the Free Space-to-Fiber Interface
     There are several potential damage mechanisms that can occur at the free space-to-fiber interface when coupling light into a fiber. These come into play whether
     the fiber is used bare or terminated in a connector.


     Unterminated (Bare) Fiber
                                                                                                         Unterminated Silica Fiber Maximum Power Densities
     Damage mechanisms in bare optical fiber can be modeled similarly to bulk optics,
     and industry-standard damage thresholds for UV Fused Silica substrates can be                                       Theoretical Damage
                                                                                              Type                                                Practical Safe Value
     applied to silica-based fiber (refer to the table to the right). The surface areas and                                  Threshold
     beam diameters involved at the air-to-glass interface are extremely small                CW
     compared to bulk optics, especially with single mode (SM) fiber, resulting in very                                      1 MW/cm2                    250 kW/cm2
                                                                                              (Average Power)
     small damage thresholds.
                                                                                              10 ns Pulsed
                                                                                                                             5 GW/cm2                    1 GW/cm2
                                                                                              (Peak Power)
     The effective area for SM fiber is defined by the mode field diameter (MFD),
     which is the effective cross-sectional area through which light propagates in the fiber. To achieve good efficiency when coupling into a single mode fiber, a free-
     space beam of light must match the diameter given by the MDF. Thus, a portion of the light travels through the cladding when matching the MFD. The MFD
     increases roughly linearly with wavelength, which yields a roughly quadratic increase in damage threshold with wavelength. Additionally, a beam coupled into SM
     fiber typically has a Gaussian-like profile, resulting in a higher power density at the center of the beam compared with the edges, so a safety margin must be built
     into the calculated damage threshold value if the calculations assume a uniform density.


     Multimode (MM) fiber’s effective area is defined by the core diameter, which is typically far larger than the MFD in SM fiber. Kilowatts of power can be typically
     coupled into multimode fiber without damage, due to the larger core size and the resulting reduced power density. For MM fibers, a free-space beam of light must
     be focused down to a spot of roughly 70 - 80% of the MFD to be coupled into the fiber with good efficiency.


     It is typically uncommon to use single mode fibers for pulsed applications with high per-pulse powers because the beam needs to be focused down to a very
     small area for coupling, resulting in a very high power density. It is also uncommon to use SM fiber with ultraviolet light because the MFD becomes extremely
     small; thus, power handling becomes very low, and coupling becomes very difficult.


     Example Calculation
     For SM400 single mode fiber operating at 400 nm with CW light, the mode field diameter (MFD) is approximately Ø3 µm. For good coupling efficiency, the light
     must fill the MFD of the fiber. Thus, the effective diameter is Ø3 µm with an effective area of 7.07 µm2:


                                                               Area = πr2 = π(MFD/2)2 = π • 1.52 µm2 = 7.07 µm2


     This can be extrapolated to a damage threshold of 17.7 mW. We recommend using the "practical value" maximum power density from the table above to account
     for a Gaussian power distribution, possible coupling misalignment, and contaminants or imperfections on the fiber end face:


                                                                           250 kW/cm2 = 2.5 mW/µm2


                                                                       7.07 µm2 • 2.5 mW/µm2 = 17.7 mW


     Terminated Fiber
     Optical fiber that is terminated in a connector has additional power handling considerations.
     Fiber is typically terminated by being epoxied into a ceramic or steel ferrule, which forms the
     interfacing surface of the connector. When light is coupled into the fiber, light that does not enter
     the core and propagate down the fiber is scattered into the outer layers of the fiber, inside the
     ferrule.


     The scattered light propagates into the epoxy that holds the fiber in the ferrule. If the light is
     intense enough, it can melt the epoxy, causing it to run onto the face of the connector and into
     the beam path. The epoxy can be burned off, leaving residue on the end of the fiber, which                                    Click to Enlarge



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     reduces coupling efficiency and increases scattering, causing further damage. The lack of epoxy The limiting factor with optical fiber terminated in a connector
        between the fiber and ferrule can also cause the fiber to be decentered, which reduces the                          is free-space light entering the fiber.
        coupling efficiency and further increases scattering and damage.


        The power handling of terminated optical fiber scales with wavelength for two reasons. First, the higher per photon energy of short-wavelength light leads to a
        greater likelihood of scattering, which increases the optical power incident on the epoxy near the end of the connector. Second, shorter-wavelength light is
        inherently more difficult to couple into SM fiber due to the smaller MFD, as discussed above. The greater likelihood of light not entering the fiber’s core again
        increases the chance of damaging scattering effects. This second effect is not as common with MM fibers because their larger core sizes allow easier coupling in
        general, including with short-wavelength light.


        Fiber connectors can be constructed to have an epoxy-free air gap between the optical fiber and ferrule near the fiber end face. This design feature, commonly
        used with multimode fiber, allows some of the connector-related damage mechanisms to be avoided. Our high-power multimode fiber patch cables use
        connectors with this design feature.


        Combined Damage Thresholds
        As a general guideline, for short-wavelength light at around 400 nm, scattering within connectors typically limits the power handling of optical fiber to about 300
        mW. Note that this limit is higher than the limit set by the optical power density at the fiber tip. However, power handing limitations due to connector effects do not
        diminish as rapidly with wavelength when compared to power density effects. Thus, a terminated fiber’s power handling is "connector-limited" at wavelengths
        above approximately 600 nm and is "fiber-limited" at lower wavelengths.


        The graph to the right shows the power handling limitations imposed by the fiber itself and a surrounding connector. The total power handling of a terminated
        fiber at a given wavelength is limited by the lower of the two limitations at that wavelength. The fiber-limited (blue) line is for SM fibers. An equivalent line for
        multimode fiber would be far above the SM line on the Y-axis. For terminated multimode fibers, the connector-limited (red) line always determines the damage
        threshold.


        Please note that the values in this graph are rough guidelines detailing estimates of power levels where damage is very unlikely with proper handling and
        alignment procedures. It is worth noting that optical fibers are frequently used at power levels above those described here. However, damage is likely in these
        applications. The optical fiber should be considered a consumable lab supply if used at power levels above those recommended by Thorlabs.



        Damage Within Optical Fibers
        In addition to damage mechanisms at the air-to-glass interface, optical fibers also display power handling limitations due to damage mechanisms within the
        optical fiber itself. Two categories of damage within the fiber are damage from bend losses and damage from photodarkening.


        Bend Losses
        Bend losses occur when a fiber is bent to a point where light traveling in the core is incident on the core/cladding interface at an angle higher than the critical
        angle, making total internal reflection impossible.Under these circumstances, light escapes the fiber, often in one localized area. The light escaping the fiber
        typically has a high power density, which can cause burns to the fiber as well as any surrounding furcation tubing.


        A special category of optical fiber, called double-clad fiber, can reduce the risk of bend-loss damage by allowing the fiber’s cladding (2nd layer) to also function
        as a waveguide in addition to the core. By making the critical angle of the cladding/coating interface higher than the critical angle of the core/clad interface, light
        that escapes the core is loosely confined within the cladding. It will then leak out over a distance of centimeters or meters instead of at one localized spot within
        the fiber, minimizing damage. Thorlabs manufactures and sells 0.22 NA double-clad multimode fiber, which boasts very high, megawatt range power handling.


        Photodarkening
        A second damage mechanism within optical fiber, called photodarkening or solarization, typically occurs over time in fibers used with ultraviolet or short-
        wavelength visible light. The pure silica core of standard multimode optical fiber can transmit ultraviolet light, but the attenuation at these short wavelengths
        increases with the time exposed to the light. The mechanism that causes photodarkening is largely unknown, but several strategies have been developed to
        combat it. Fibers with a very low hydroxyl ion (OH) content have been found to resist photodarkening. Other dopants, including fluorine, can also reduce
        photodarkening.


        Germanium-doped silica, which is commonly used for the core of single mode fiber for red or IR wavelengths, can experience photodarkening with blue visible
        light. Thus, pure silica core single mode fibers are typically used with short wavelength visible light. Single mode fibers are typically not used with UV light due to
        the small MFD at these wavelengths, which makes coupling extremely difficult.


        Even with the above strategies in place, all fibers eventually experience photodarkening when used with UV light, and thus, fibers used with these wavelengths
        should be considered consumables.



        Tips for Maximizing an Optical Fiber's Power Handling Capability
        With a clear understanding of the power-limiting mechanisms of an optical fiber, strategies can be implemented to increase a fiber’s power handling capability
        and reduce the risk of damage in a given application. All of the calculations above only apply if the following strategies are implemented.




https://www.thorlabs.com/newgrouppage9_pf.cfm?guide=10&category_id=183&objectgroup_id=7556
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     One of the most important aspects of a fiber’s power-handling capability is the quality of the end face. The end face should be clean and clear of dirt and other
        contaminants that can cause scattering of coupled light. Additionally, if working with bare fiber, the end of the fiber should have a good quality cleave, and any
        splices should be of good quality to prevent scattering at interfaces.


        The alignment process for coupling light into optical fiber is also important to avoid damage to the fiber. During alignment, before optimum coupling is achieved,
        light may be easily focused onto parts of the fiber other than the core. If a high power beam is focused on the cladding or other parts of the fiber, scattering can
        occur, causing damage.


        Additionally, terminated fibers should not be plugged in or unplugged while the light source is on, again so that focused beams of light are not incident on fragile
        parts of the connector, possibly causing damage.


        Bend losses, discussed above, can cause localized burning in an optical fiber when a large amount of light escapes the fiber in a small area. Fibers carrying
        large amounts of light should be secured to a steady surface along their entire length to avoid being disturbed or bent.


        Additionally, choosing an appropriate optical fiber for a given application can help to avoid damage. Large-mode-area fibers are a good alternative to standard
        single mode fibers in high-power applications. They provide good beam quality with a larger MFD, thereby decreasing power densities. Standard single mode
        fibers are also not generally used for ultraviolet applications or high-peak-power pulsed applications due to the high spatial power densities these applications
        present.




   Rotary Joint Patch Cables with Ø200 µm Fiber
                                 Core         Cladding                    Bend Radius                 Wavelength         Attenuation
    Item #        Fiber        Diameter       Diameter       NA      (Short Term/Long Term)             Range                Plot             Connectors            Jacket

    RJPS2                                                                                             400 - 2200 nm                        SMA905 (10230Aa)         FT020
               FT200EMT       200 ± 5 µm      225 ± 5 µm    0.39           9 mm / 18 mm
    RJPF2                                                                                               (Low OH)                                             b     (Ø2 mm)
                                                                                                                                           FC/PC (30230C1 )

         • Connectorized with the 190088CP strain relief boot for Ø2 mm tubing
         • Connectorized with the 190066CP strain relief boot for Ø2 mm tubing




       Part Number                                                         Description                                                       Price         Availability
    RJPS2                   SMA to SMA, Ø200 µm, 0.39 NA, Rotating Patch Cable, 2 m Long                                                  $316.00       Today
    RJPF2                   FC/PC to FC/PC, Ø200 µm, 0.39 NA, Rotating Patch Cable, 2 m Long                                              $316.00       3-5 Days




   Rotary Joint Patch Cables with Ø400 µm Fiber
                                 Core          Cladding                     Bend Radius                Wavelength        Attenuation
    Item #        Fiber        Diameter        Diameter       NA      (Short Term/Long Term)                 Range           Plot             Connectors            Jacket

    RJPS4                                                                                             400 - 2200 nm                        SMA905 (10440A )  a
                                                                                                                                                                    FT020
               FT400EMT       400 ± 8 µm     425 ± 10 µm     0.39           20 mm / 40 mm
    RJPF4                                                                                               (Low OH)                                             b     (Ø2 mm)
                                                                                                                                           FC/PC (30440C1 )

         • Connectorized with the 190088CP strain relief boot for Ø2 mm tubing
         • Connectorized with the 190066CP strain relief boot for Ø2 mm tubing




       Part Number                                                         Description                                                       Price         Availability
    RJPS4                   SMA to SMA, Ø400 µm, 0.39 NA, Rotating Patch Cable, 2 m Long                                                  $342.00       Today
    RJPF4                   FC/PC to FC/PC, Ø400 µm, 0.39 NA, Rotating Patch Cable, 2 m Long                                              $342.00       Today



  Visit the Multimode Fiber Optic Rotary Joint Patch Cables page for pricing and availability information:
  https://www.thorlabs.com/newgrouppage9.cfm?objectgroup_id=7556




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